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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

Jessicca Spurck, individually and on behalf of                      7:21-cv-05506
all others similarly situated,
                                  Plaintiff,

                    - against -                                Class Action Complaint

Demet's Candy Company, LLC,
                                                                Jury Trial Demanded
                                  Defendant

       Plaintiff alleges upon information and belief, except for allegations pertaining to plaintiff,

which are based on personal knowledge:


       1.      Demet's Candy Company, LLC (“defendant”) manufactures, labels, markets and

sells pretzels purporting to be covered in white fudge under the Flipz brand (“Product”).




       2.      The representation as “White Fudge [Covered Pretzels]” is false, deceptive and

misleading because it lacks the type and amounts of ingredients consumers expect in fudge.
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I.    DEFINITIONS OF FUDGE

        3.      Fudge “is a type of sugar candy that is made by mixing sugar, butter and milk.”1

        4.      Though fudge can have almost any flavor, milk fat – typically in the form of butter

– is the central component.

        5.      An 1893 recipe for fudge called for “Four cups granulated sugar; one cup cream; one

cup water; one-half cake chocolate; one-half Cup butter.”2

        6.      In 1896, The Los Angeles Times published the original fudge recipe by the Vassar

students credited with first making fudge: “Two cups of sugar, one cup of milk, a piece of butter

one-half the size of an egg” and added flavoring.3

        7.      A 1902 fudge recipe from Mrs. Rorer's New Cook Book includes:4

                     4 ounces of chocolate
                     2 cups of sugar
                     1 teaspoonful of vanilla
                     1/2 cup of milk
                     1 rounding tablespoonful of butter

        8.      The role and expectation of milk fat in fudge is not an antiquated or anachronistic

concept, which disappeared with the advent of industrial food production.

        9.      Molly Mills, one of the leading authorities on fudge, recently described it as made

“most commonly from butter, milk, sugar, and chocolate.”5

        10.     The Oxford Companion to Sugar and Sweets notes that:




1
  Wikipedia contributors. "Fudge." Wikipedia, The Free Encyclopedia. Wikipedia, The Free Encyclopedia, 5 Jan.
2021. Web. 8 Jan. 2021.
2
  Mrs. J. Montgomery Smith, of Wisconsin, Alternate Lady Manager.
3
  Los Angeles Times, “‘Fudges’ Are Vassar Chocolates,” May 11, 1896, p.2.
4
  Sarah Tyson Rorer [Arnold and Company: Philadelphia] 1902, p. 629.
5
  Molly Mills, Come Get Your Fudge: 40 Tasty and Creative Fudge Recipes for Everyone, Amazon Digital Services
LLC, June 11, 2019.


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        Traditionally, fudge is made by gently boiling granulated sugar and milk to the soft-
        ball stage (234° to 240°F/ 112° to 115°C); adding butter; cooling the mixture
        somewhat (120°F/49°C); then beating until thick, creamy, and less glossy.6

        11.    In the encyclopedic work, An A-Z of Food and Drink, the author describes fudge as

“a sort of soft, somewhat toffee-like sweet made by boiling together sugar, butter, and milk.”7

        12.    Dictionaries confirm the definitions held by confectionery experts.

        13.    Google Dictionary – based on its leading search engine that discovers the most

relevant and accurate information – defines fudge as “a soft candy made from sugar, butter, and

milk or cream.”8

        14.    The Cambridge Dictionary defines fudge as “a soft sweet made from sugar, butter,

and milk.”9

        15.    Collins Dictionary defines fudge as “a soft brown candy that is made from butter,

cream, and sugar.”10

        16.    Dictionary.com defines fudge as “a soft candy made of sugar, butter, milk, chocolate,

and sometimes nuts.”11

        17.    Macmillan Dictionary defines fudge as a “soft brown sweet food made from sugar,

butter, and milk or cream.”12

        18.    A leading treatise on confectionary science and technology offers a model

commercial formulation for fudge which includes between eight and sixteen percent butter and

between twelve and twenty percent sweetened condensed milk.




6
  Goldstein, Darra, and Sidney Mintz. The Oxford companion to sugar and sweets. Oxford University Press, 2015.
7
  John Ayto, An A-Z of Food and Drink, Oxford University Press, 2002, p. 133.
8
  Fudge definition – Google search.
9
  Cambridge Dictionary, fudge.
10
   Collins Dictionary, fudge.
11
   Dictionary.com, fudge.
12
   Macmillan Dictionary, fudge.


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II.   FAT INGREDIENTS ARE ESSENTIAL TO FUDGE

        19.      The quality of fudge depends on the amount and type of fat-contributing

ingredients.13

        20.      The small droplets of fat are dispersed throughout the candy mass, providing

lubricity and impart desirable flavor release.

        21.      If the fat content of fudge is too high, it can lead to oil separation and a greasy

texture.14

        22.      The fat ingredients are typically from dairy or vegetable oils.

        23.      The dairy ingredients are based on milk fat, mainly added through butter, which is

80% milkfat.

        24.      Other dairy ingredients like milk and milk derivatives may be added as well.

        25.      Vegetable oil ingredients include palm kernel and palm oil, which are solid at room

temperature.



13
  International Dairy Federation, Bulletin, 1982.
14
  Hartel R.W., von Elbe J.H., Hofberger R. (2018) Caramel, Fudge and Toffee. In: Confectionery Science and
Technology. Springer, Cham. https://doi.org/10.1007/978-3-319-61742-8_10


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           26.   These ingredients are referred to as “hard [vegetable] fats” or vegetable fats.

III. EFFECT OF DIFFERENT FAT INGREDIENTS

           27.   Milk fat melts at about mouth temperature (35 °C/95 °F) and has a moderate solid

fat content at room temperature.

           28.   The melt temperature ensures that milk fat melts in the mouth and does not contribute

to a waxy sensation.

           29.   When butter is when heated in a sugar matrix, the result is cooked butter flavors that

enhance the creamy taste of fudge by releasing volatile compounds like ketones and aldehydes,

and its texture of fudge, and, which contribute to desirable aromas and taste.

           30.   Dairy ingredients impart a creamy, rich taste to fudge, because milk fat contain

hundreds of lactones, aroma compounds which contribute to its taste.

           31.   Alternatives to milk fat – such as vegetable oils – do not melt at mouth temperature

and leave a waxy mouthfeel.

           32.   Vegetable fats do not contribute to the flavor of fudge, because they are theoretically

“refined, bleached and deodorized.”

           33.   However, these ingredients are subject to reversion where they can contribute off-

odors to foods.

           34.   One popular recipe website echoes these sentiments, advising, “When making fudge,

be sure to use good quality butter and do not substitute margarine (vegetable oils),” since they

contain more water and can prevent the fudge from setting up properly.15

           35.   Another site cautions, “Look for recipes that call for butter instead of margarine




15
     Use Real Butter For Making Best Fudge, RecipeTips.com.


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(vegetable oils).”16

           36.    One chef recommends to “Never use margarine (vegetable oils) instead of butter [in

fudge], because your fudge won’t taste as good and will have a shorter shelf life.”17

           37.    Vegetable fats are often balanced with milk fat in fudge “to reduce costs.”

IV.      FUDGE LACKS AMOUNT AND TYPE OF DAIRY INGREDIENTS

           38.    When consumers observe the representation “[White] Fudge,” they will expect it

contains ingredients which are essential to fudge.

           39.    However, the Product lacks the type and amount of dairy and milk fat ingredients

essential to fudge – viz, butter – and substitutes vegetable oils.




                 INGREDIENTS: SUGAR, ENRICHED FLOUR (WHEAT FLOUR,
                 NIACIN, REDUCED IRON, THIAMINE MONONITRATE [VITAMIN
                 B1], RIBOFLAVIN [VITAMIN B2], FOLIC ACID), VEGETABLE OIL
                 (PALM KERNEL OIL AND HYDROGENATED PALM OIL), MILK,
                 SKIM MILK POWDER, SOY LECITHIN (EMULSIFIER), CORN
                 SYRUP, SALT, ARTIFICIAL FLAVOR, YEAST, MALTED BARLEY
                 FLOUR, LEAVENING (SODIUM BICARBONATE).

           40.    Since the ingredients for the food are listed together, i.e., the pretzel and coating are

not identified separately, it is necessary to identify the ingredients which correspond to each.

           41.    This task is made easier because the ingredient list previously identified the white

fudge component separately.




16
     Easy Fudge Making Tips, The Happy Housewife.
17
     Calico Ingredients 101, Fudge Mix: Pre-measured ingredients, Calico Cottage.


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                   INGREDIENTS: WHITE FUDGE (SUGAR, PARTIALLY
                   HYDROGENATED PALM KERNEL AND PALM OILS,
                   MILK, NONFAT MILK, SOY LECITHIN, ARTIFICIAL
                   FLAVOR), ENRICHED FLOUR (WHEAT FLOUR,
                   NIACIN,    REDUCED      IRON,     THIAMINE
                   MONONITRATE, RIBOFLAVIN, FOLIC ACID), CORN
                   SYRUP, SOY LECITHIN, SALT, YEAST, BARLEY
                   MALT (BARLEY, WHEAT FLOUR, DEXTROSE),
                   SODIUM BICARBONATE.

       42.    By matching the ingredients in the prior version of the ingredient list for the

combination white fudge component with the current ingredient list, the white fudge in the Product

is presently comprised of the ingredients below, in order of predominance by weight:

                       Sugar
                       Vegetable Oil (Palm Kernel Oil And Hydrogenated Palm Oil)
                       Milk
                       Skim Milk Powder
                       Soy Lecithin (Emulsifier)
                       Artificial Flavor

       43.    However, the fat content in the Product’s fudge is not balanced between vegetable

fats and dairy ingredients.

       44.    First, the fudge contains more vegetable fat ingredients than dairy ingredients.

       45.    Vegetable oil is listed ahead of milk and skim milk powder on the ingredient list.


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       46.   While the amount of milk and skim milk powder could exceed the quantity of

vegetable oil, upon information and belief, and/or an examination of the Nutrition Facts below,

the vegetable oil components are present in greater amounts than milk and skim milk powder.




       47.   Milk contains approximately 12-13% solids and is 87-88% water.

       48.   This includes between 3.5-3.8% milk fat.

       49.   Skim milk powder is obtained by removing the water from skim milk.

       50.   The result is a food with between 0.6-1.25% fat, which is only 0.8 g per 100 g.

       51.   Based in part on an analysis of the Nutrition Facts, the fat content of the Product

comes almost exclusively from the vegetable oil ingredients.

V.    SUBSTITUTION OF MILK FAT INGREDIENTS NOT EXPECTED IN PRODUCT
      REPRESENTED AS FUDGE

       52.   Reasonable consumers are misled by the Product’s representation as fudge because

they expect this food to have a non-de-minimis amount of milkfat – typically from butter – instead

of (hardened) vegetable oil fats.

       53.   The absence of milk fat ingredients and their substitution with vegetable oils means

the resulting “fudge” provides less satiety, has a waxy and oily mouthfeel and leaves an aftertaste.


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       54.     Consumption of vegetable oils is linked to numerous health problems, like increased

chances of heart disease and increased cholesterol.

       55.     Consumption of milk fats, like butter, does not have the same negative effects on

cholesterol.

       56.     Milk fat ingredients also contain the fat-soluble vitamins A, D, E, and K, which are

absent from hardened vegetable fats.

VI.   DEFENDANT SELLS SIMILAR PRODUCTS WHICH CONTAIN THE PROMISED
      INGREDIENTS

       57.     Defendant sells other pretzels, including one covered in “Milk Chocolate.”




       58.     The Milk Chocolate product contains milk chocolate ingredients.

VII. CONCLUSION

       59.     Reasonable consumers must and do rely on a company to honestly identify and

describe the components, attributes and features of the Product, relative to itself and other

comparable products or alternatives.


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       60.    The value of the Product that plaintiff purchased was materially less than its value as

represented by defendant.

       61.    Defendant sold more of the Product and at higher prices than it would have in the

absence of this misconduct, resulting in additional profits at the expense of consumers.

       62.    Had Plaintiff and proposed class members known the truth, they would not have

bought the Product or would have paid less for it.

       63.    The Product is sold for a price premium compared to other similar products, $2.99

for a 5 OZ bag, a higher price than it would otherwise be sold for, absent the misleading

representations and omissions.

                                           Jurisdiction and Venue

       64.    Jurisdiction is proper pursuant to Class Action Fairness Act of 2005 (“CAFA”). 28

U.S.C. § 1332(d)(2).

       65.    Upon information and belief, the aggregate amount in controversy exceeds $5

million, including any statutory damages, exclusive of interest and costs.

       66.    Plaintiff Jessicca Spurck is a citizen of New York.

       67.    Defendant Demet's Candy Company, LLC is a Delaware corporation with a principal

place of business in Stamford, Fairfield County, Connecticut and upon information and belief, at

least one member of defendant is not a citizen of the same state as the plaintiff.

       68.    The parties are citizens of different states.

       69.    Venue is in this district because a substantial part of the events or omissions giving

rise to the claim occurred here, Plaintiff’s purchase and awareness that the representations were

misleading.




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                                              Parties

       70.   Plaintiff Jessicca Spurck is a citizen of Poughkeepsie, Dutchess County, New York.

       71.   Defendant Demet's Candy Company, LLC, is a Delaware corporation with a

principal place of business in Stamford, Connecticut, Fairfield County.

       72.   Defendant is the subsidiary of a Turkish confectionery conglomerate, which operates

numerous United States brands.

       73.   The Flipz brand of covered pretzels are the market leader for this product.

       74.   The Product, and other varieties, are ubiquitous, sold throughout New York in

grocery stores, convenience stores, big box stores, gas station stores, warehouse stores, and are

available online.

       75.   Plaintiff bought the Product on one or more occasions within the statute of limitations

for each cause of action alleged, from stores including at ShopRite, 1895 South Rd Suite 3B,

Poughkeepsie, NY 12601, between November and December 2020.

       76.   Plaintiff bought the Product at or exceeding the above-referenced price.

       77.   Plaintiff relied on the representations identified here.

       78.   Plaintiff realizes snacks, like the Product, are an indulgence.

       79.   However, Plaintiff relied on the label which promised pretzels covered in fudge,

instead of the generic term, “coating.”

       80.   Plaintiff did not expect that a product labeled as fudge would replace the essential

fudge ingredients with vegetable oils.

       81.   Plaintiff would not have purchased the Product if she knew the representations were

false and misleading.

       82.   Plaintiff chose between Defendant’s Product and other similar products which were




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represented similarly, but which did not misrepresent their attributes and/or lower-priced products

which did not make the claims made by Defendant.

       83.    The Product was worth less than what Plaintiff paid and she would not have paid as

much absent Defendant's false and misleading statements and omissions.

       84.    Plaintiff intends to, seeks to, and will purchase the Product again when she can do so

with the assurance that Product's representations are consistent with its composition.

                                         Class Allegations

       85.    The class will consist of New York residents who purchased the Product during the

statutes of limitations for each cause of action alleged.

       86.    Common questions of law or fact predominate and include whether defendant’s

representations were and are misleading and if plaintiff and class members are entitled to damages.

       87.    Plaintiff's claims and basis for relief are typical to other members because all were

subjected to the same unfair and deceptive representations and actions.

       88.    Plaintiff is an adequate representative because her interests do not conflict with other

members.

       89.    No individual inquiry is necessary since the focus is only on defendant’s practices

and the class is definable and ascertainable.

       90.    Individual actions would risk inconsistent results, be repetitive and are impractical

to justify, as the claims are modest relative to the scope of the harm.

       91.    Plaintiff's counsel is competent and experienced in complex class action litigation

and intends to protect class members’ interests adequately and fairly.

       92.    Plaintiff seeks class-wide injunctive relief because the practices continue.




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                     New York General Business Law (“GBL”) §§ 349 & 350

                                   (Consumer Protection Statute)

       93.    Plaintiff incorporates by reference all preceding paragraphs.

       94.    Plaintiff and class members desired to purchase a product which contained fudge,

understood as being comprised of a non-de minimis amount of milk fat ingredients, instead of

mostly vegetable oils.

       95.    Defendant’s false and deceptive representations and omissions are material in that

they are likely to influence consumer purchasing decisions.

       96.    Defendant misrepresented the Product through statements, omissions, ambiguities,

half-truths and/or actions.

       97.    Plaintiff relied on the representations.

       98.    Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                    Breaches of Express Warranty,
                               Implied Warranty of Merchantability and
                         Magnuson Moss Warranty Act, 15 U.S.C. §§ 2301, et seq.

       99.    The Product was manufactured, labeled and sold by defendant and expressly and

impliedly warranted to plaintiff and class members that it contained fudge, understood as being

comprised of a non-de minimis amount of milk fat ingredients, instead of mostly vegetable oils.

       100. Defendant had a duty to disclose and/or provide non-deceptive descriptions and

marketing of the Product.

       101. This duty is based on Defendant’s outsized role in the market for this type of Product

– the leading seller of coated pretzels.

       102. Plaintiff provided or will provide notice to defendant, its agents, representatives,




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retailers and their employees.

       103. Defendant received notice and should have been aware of these issues due to

complaints by regulators, competitors, and consumers, to its main offices.

       104. The Product did not conform to its affirmations of fact and promises due to

defendant’s actions and were not merchantable because they were not fit to pass in the trade as

advertised.

       105. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                       Negligent Misrepresentation

       106. Defendant had a duty to truthfully represent the Product, which it breached.

       107. This duty is based on defendant’s position, holding itself out as having special

knowledge and experience this area, as custodians of the Flipz brand, and part of an international

conglomerate.

       108. The representations took advantage of consumers’ cognitive shortcuts made at the

point-of-sale and their trust in defendant, an iconic brand.

       109. Plaintiff and class members reasonably and justifiably relied on these negligent

misrepresentations and omissions, which served to induce and did induce, their purchase of the

Product.

       110. Plaintiff and class members would not have purchased the Product or paid as much

if the true facts had been known, suffering damages.

                                               Fraud

       111. Defendant misrepresented and/or omitted the attributes and qualities of the Product,

that they contained fudge, understood as being comprised of a non-de minimis amount of milk fat




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ingredients, instead of mostly vegetable oils

       112. Defendant’s fraudulent intent is evinced by its knowledge that the Product was not

consistent with its representations.

                                         Unjust Enrichment

       113. Defendant obtained benefits and monies because the Product was not as represented

and expected, to the detriment and impoverishment of plaintiff and class members, who seek

restitution and disgorgement of inequitably obtained profits.

                                 Jury Demand and Prayer for Relief

Plaintiff demands a jury trial on all issues.

    WHEREFORE, Plaintiff prays for judgment:

   1. Declaring this a proper class action, certifying plaintiff as representative and the

       undersigned as counsel for the class;

   2. Entering preliminary and permanent injunctive relief by directing defendant to correct the

       challenged practices to comply with the law;

   3. Injunctive relief to remove, correct and/or refrain from the challenged practices and

       representations, and restitution and disgorgement for members of the class pursuant to the

       applicable laws;

   4. Awarding monetary damages, statutory damages pursuant to any statutory claims and

       interest pursuant to the common law and other statutory claims;

   5. Awarding costs and expenses, including reasonable fees for plaintiff's attorneys and

       experts; and

   6. Other and further relief as the Court deems just and proper.

Dated: June 23, 2021
                                                           Respectfully submitted,



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